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                  IN THE UNITED STATES DISTRICT COURT
                                                                             FILED
                      FOR THE DISTRICT OF MONTANA                                DEC - 2 2016
                            BILLINGS DIVISION                                Clerk, u s District Court
                                                                               District Of Montana
                                                                                      Billings



UNITED STATES OF AMERICA,                       Cause No. CR 10-113-BLG-SPW
                                                          CV 16-084-BLG-SPW
              Plaintiff/Respondent,

       vs.                                     ORDER DENYING § 2255 MOTION
                                               AND DENYING CERTIFICATE OF
HENRY JOE GONZALES,                                  APPEALABILITY

              Defendant/Movant.


      This case comes before the Court on Defendant/Movant Henry Joe

Gonzales' motion to vacate, set aside, or correct his sentence, pursuant to 28

U.S.C. § 2255. Gonzales is a federal prisoner proceeding prose.

      On June 20, 2016, Gonzales was given an opportunity to clarify one of his

claims by identifying the facts or issues he claimed counsel should have raised.

Order (Doc. 97) at 1. Gonzales responded on July 5, 2016. Resp. to Order (Doc.

98) at 1-2.

                               I. Preliminary Review

      The motion is subject to preliminary review before the United States is

required to respond. The Court must determine whether "the motion and the files

and records of the case conclusively show that the prisoner is entitled to no relief."

28 U.S.C. § 2255(b ); see also Rule 4(b ), Rules Governing Section 2255


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Proceedings for the United States District Courts.

      A petitioner "who is able to state facts showing a real possibility of

constitutional error should survive Rule 4 review." Calderon v. United States Dist.

Court, 98 F.3d 1102, 1109 (9th Cir. 1996) ("Nicolas") (Schroeder, CJ.,

concurring) (referring to Rules Governing § 2254 Cases). But "it is the duty of the

court to screen out frivolous applications and eliminate the burden that would be

placed on the respondent by ordering an unnecessary answer." Advisory

Committee Note (1976), Rule 4, Rules Governing§ 2254 Cases, cited in Advisory

Committee Note (1976), Rule 4, Rules Governing § 2255 Proceedings.

                                  II. Background

      Gonzales pled guilty to conspiring to possess 500 grams or more of a

substance containing methamphetamine with intent to distribute it, a violation of

21 U.S.C. §§ 846 and 841(a)(l). Superseding Indictment (Doc. 67) at 2-3; Plea

Agreement (Doc. 83) at 2 ,-r 2 para. 1. Because Gonzales had previously been

convicted of a felony drug crime, he was subject to a mandatory minimum

sentence of 20 years and a maximum sentence of life in prison. See Information

(Doc. 82) at 2; 21 U.S.C. §§ 841(b)(l)(A) & (viii); 851(a).

      A presentence report was prepared. Gonzales was held responsible for 1.5

to 5 kilograms of methamphetamine, corresponding to a base offense level at that

time of 34. He received a three-level reduction for acceptance of responsibility but


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was designated a career offender based on his prior convictions. His total adjusted

offense level was 34. Presentence Report~~ 62-71. With a criminal history

category of VI, his advisory guideline range was 262 to 327 months. Presentence

Report~~ 81-82, 119.     The parties, however, jointly recommended a sentence of

240 months, the statutory mandatory minimum. Gonzales was sentenced to serve

240 months, to be followed by a ten-year term of supervised release. See

Judgment (Doc. 92) at 2-3; Statement of Reasons (Doc. 93) at 4 ~VIII.

      Gonzales did not appeal. His conviction became final on April 12, 2012.

Gonzalez v. Thaler,_ U.S._, 132 S. Ct. 641, 653-54 (2013).

      On June 26, 2015, the United States Supreme Court held that it is

unconstitutional to enhance a defendant's sentence based on the vague residual

clause of 18 U.S.C. § 924(e)(2)(B). See Johnson v. United States,_ U.S._, 135

S. Ct. 2551, 2563 (2015). The Court later held its decision in Johnson applied

retroactively to persons whose convictions became final before Johnson was

issued. See Welch v. United States, -   U.S. - , 136 S. Ct. 1257, 1265 (2016).

      In addition, Gonzales received a letter from the Department of Justice

regarding potential misconduct by the prosecutor who handled his case. See Mot.

§ 2255 (Doc. 95) at 8.

                              III. Claims and Analysis

      Gonzales seeks relief under Johnson. Mot.§ 2255 (Doc. 95) at 4 Ground

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One. He also contends that trial counsel "raised no issues ... to prove [Gonzales']

innocence" and failed to explain that Gonzales had a right to have a jury determine

whether prior felonies should increase his sentence. Id. at 5 Ground Two. Finally,

Gonzales alleges that the prosecutor violated the rule of Giglio v. United States,

405 U.S. 150, 153-55 (1972), by "not telling" defense counsel "about cooperating

witnesses." Mot. § 2255 at 6 Ground Three.

      All of Gonzales' claims lack merit. His career offender enhancement was

based on two prior drug felony convictions, see Presentence Report ifif 74, 77, 82,

and prior drug convictions are not affected by the new rule of Johnson, see, e.g.,

Stanley v. United States, 827 F .3d 562, 564 (7th Cir. 2016). Gonzales contends

that counsel failed to challenge statements made against him by his co-defendants

Hernandez and Y ellowhawk, see Resp. to Order (Doc. 99) at 1-2, but neither co-

defendant provided any statements that were used against Gonzales, see Offer of

Proof (Doc. 84) at 4-6; Presentence Report ifif 16-50. Defense counsel did not err

by failing to tell Gonzales a jury must decide whether his prior convictions would

count against him because a jury does not decide that issue. See, e.g., Alleyne v.

United States, _U.S._, 133 S. Ct. 2151, 2160 n.1 (2013); Apprendi v. New

Jersey, 530 U.S. 466, 488-90 (2000); Almendarez-Torres v. United States, 523

U.S. 224, 243 (1998). The prosecution is not required to "tell" defense counsel

"about cooperating witnesses" unless and until a cooperating witness testifies at

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trial. 18 U.S.C. § 3500(b). Since Gonzales pled guilty, the prosecution was not

required to tell defense counsel about cooperating witnesses.

      All of Gonzales' claims are denied for lack of merit.

                          IV. Certificate of Appealability

      "The district court must issue or deny a certificate of appealability when it

enters a final order adverse to the applicant." Rule l l(a), Rules Governing§ 2255

Proceedings. A COA should issue as to those claims on which the petitioner

makes "a substantial showing of the denial of a constitutional right." 28 U.S.C. §

2253( c)(2). The standard is satisfied if "jurists of reason could disagree with the

district court's resolution of [the] constitutional claims" or "conclude the issues

presented are adequate to deserve encouragement to proceed further." Miller-El v.

Cockrell, 537 U.S. 322, 327 (2003) (citing Slack v. McDaniel, 529 U.S. 473, 484

(2000)).

      None of Gonzales' claims meets even the relatively low threshold required

for a COA. His career offender designation was based on prior felony drug

convictions, not crimes of violence. He had no right to have a jury decide whether

he was a career offender or whether his prior convictions counted against him.

Nothing his co-defendants might have said about him was used to establish his

guilt. The prosecution has no duty to alert defense counsel to a witness's

cooperation unless there is a trial. Reasonable jurists would not encourage further

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proceedings. A COA is not warranted.


      Accordingly, IT IS HEREBY ORDERED as follows:

      1. Gonzales' motion to vacate, set aside, or correct the sentence under 28

U.S.C. § 2255 (Docs. 95, 99) is DENIED;

      2. A certificate of appealability is DENIED. The Clerk of Court shall

immediately process the appeal if Gonzales files a Notice of Appeal;

      3. The Clerk of Court shall ensure that all pending motions in this case and

in CV 16-84-BLG-SPW are terminated and shall close the civil file by entering

judgment in favor of the United States and against Gonzales.

      DATED this cJndday of December, 2016.



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                                      Susan P. Watters
                                      United States District Court




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